Case 2:18-mj-01566-DUTY Document4 Filed 06/19/18 Pagelof2 Page ID #:169

AO 93 (Rev. (2/09) Search and Seizure Warrant (USAO CDCA Rey. O1/2013)

UNITED STATES DISTRICT COURT

for the
Central District of California

In the Matter of the Search of

(Briefly describe the property to be searched
or identify the person ay name and address)
Residence tocated at 10201 Lindley Avenue Apt H117,
Northridge CA 91325

Case No. 2:18-MJ-1566

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SEARCH AND SEIZURE WARRANT
- To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Central District of California

 

(identify the person or describe the property to be searched and give its location):
See Attachment A-1

The person or property to be searched, described above, is believed to conceal (identify the person or describe the
property to be seized): .
See Attachment B

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property. Such affidavit(s) or testimony are incorporated herein by reference and attached hereto.

YOU ARE COMMANDED to execute this warrant on or before 14 days from the date of its issuance

 

(not to exceed 14 days)
# in the daytime 6:00 a.m. to 10 p.m, O at any time in the day or night as I find reasonable cause has been
established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to United States Magistrate Judge
on duty at the time of the return through a filing with the Clerk's Office.

(name)

 

1 I find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay
of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be
searched or seized (check the appropriate box) (1 for days (not to exceed 30}.

O until, the facts justifying, the Jater specific date of _-
“Lot 6B VAP
Date and time issued: h. [5 i of g Sm Lf oA ”

Judge's signature

City and state: Los Angeles, California HON. FREDERICK F. MUMM, USMS

Printed name and title

AUSA: Adam P. Schleifer 213-894-2686
Case 2:18-mj-01566-DUTY Document4 Filed 06/19/18 Page 2of2 Page ID#:170

AC 93 (Rev. 12/09) Search and Seizure Warrant {Page 2)

 

Return

 

Case No.: Date and time warrant executed: Copy of warrant and inventory left with:
2:18-MJ-1566 b-S1IF ZHOPM LEFT AT R&0enas oF CARIECAKAME

 

 

 

inventory made in the presence of :
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Inventory of the property taken and name of any person(s) seized:
{Please provide a description that would be sufficient to demonstrate that the items seized fall within the items authorized to be
seized pursuant to the warrant (e.g., type of documents, as opposed to “miscellaneous documents”) as well as the approximate

volume of any documents seized (e.g., number of boxes). If reference is made to an attached description of property, specify the
number of pages to the attachment and any case number appearing thereon.]

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Certification {by officer present during the execution of the warrant)

 

i declare under penalty of perjury that I am an officer who executed this warrant and that this inventory is correct and
was returned along with the original warrant to the designated judge through a filing with the Clerk's Office.

Date: © 1S -18 Toon Onn

Executing officer's signature

Thomas O@eew FER SPECIAL ALSAIY

Printed name and title

 

 

 

AUSA: Adam P. Schleifer 213-894-2686
